Case 1:16-cr-20893-FAM Document 110 Entered on FLSD Docket 02/02/2018 Page 1 of 1




                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                         CA SE N O .16-20893-C R-M O R EN O
 UNITED STATES OF AM ERICA ,
           Plaintiff,
 VS.

 M ONTY RAY GROW ,
           Defendant.
                                     /


               ORDER GRANTING M O TION TO ADM IT EXCULPATORY
                       RECORDINGS OF M ONTY GROW

        THIS CAUSE came before the Courtupon defendant's motion to admit exculpatory

 recordingsofM onty Grow pursuantto FRE 801(d)(1)(B)i)ID.E.#961and theCourtbeing fully
 advised in theprem ises,itis

        ORDERED and ADJUDGED thatsaid m otion isGM NTED in Open Courton January

29,2018.

        DONE and ORDERED in Open Courtin M imni-Dade County Florida, this 29th day of
January2018andsi
        ,      gnedthis %R dayof V ,2018.



                                         FEDERICO .M O   O
                                         UNITED STAT DISTRICT JUDGE


Copiesfurnished to:

Allcounselofrecord
